                Case 2:11-cr-00429-JAM Document 140 Filed 04/11/13 Page 1 of 3




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8                           IN THE UNITED STATES DISTRICT COURT
9                               EASTERN DISTRICT OF CALIFORNIA
10
                                               )
11   UNITED STATES OF AMERICA,                 )   CASE NO. 2:11-CR-00429 KJM
                                               )
12                        Plaintiff,           )
                                               )
13         v.                                  )   STIPULATION AND ORDER
                                               )   CONTINUING SENTENCING
14   JERRY EDWARD KUWATA,                      )
                                               )   Date: April 16, 2013
15                        Defendant.           )   Time: 9:45 a.m.
                                               )   Court: Hon. John A. Mendez
16                                             )
17

18          The parties request that the sentencing hearing set for Tuesday, April 16, 2013, at
19   9:45 a.m., be continued to Tuesday, September 10, 2013, at 9:45 a.m. The defendant has
20   pleaded guilty and is cooperating with the United States in its ongoing investigation and
21   prosecution of this case. The continuance is necessary in order to allow the defendant to
22   continue his cooperation, and for the United States to be able to provide a reasoned
23   sentencing recommendation based upon all of the relevant factors in this case, including
24   the defendant’s cooperation.
25   ///
26   ///
27   ///
28   ///
             Case 2:11-cr-00429-JAM Document 140 Filed 04/11/13 Page 2 of 3


1          In addition, a presentence report has not yet been completed by the United States
2    Probation Office.
3          IT IS SO STIPULATED.
4     DATED: April 10, 2013                            Respectfully Submitted,
5                                                      BENJAMIN B. WAGNER
                                                       United States Attorney
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7                                            By:       /s/ Kyle Reardon
                                                       KYLE REARDON
8                                                      MATTHEW MORRIS
                                                       Assistant U.S. Attorneys
9
                                                       Attorneys for Plaintiff
10                                                     UNITED STATES OF AMERICA
11
      DATED: April 10, 2013                            /s/ Kyle Reardon for
12                                                     KRESTA DALY
                                                       Attorney for Defendant
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                                                                      Stipulation and Proposed Order
                                                   2                         United States v. Kuwata
                                                                                      2:11-0429 KJM
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8                          IN THE UNITED STATES DISTRICT COURT
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11   UNITED STATES OF AMERICA,                 )   CASE NO. 2:11-CR-00429 KJM
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12                      Plaintiff,             )
                                               )
13       v.                                    )   ORDER CONTINUING SENTENCING
                                               )
14   JERRY EDWARD KUWATA,                      )
                                               )   Date: April 16, 2013
15                      Defendant.             )   Time: 9:45 a.m.
                                               )   Court: Hon. John A. Mendez
16                                             )
17

18         For the reasons stated in the parties’ stipulation and proposed order, the request to
19   continue the sentencing hearing set for April 16, 2013, until September 10, 2013, is
20   granted.
21         IT IS SO ORDERED.
22    DATED: 4/10/2013
23                                                 /s/ John A. Mendez_______________
                                                   JOHN A. MENDEZ
24                                                 United States District Court Judge
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